          Case 8:18-bk-10590-CB            Doc 10 Filed 03/08/18 Entered 03/08/18 15:26:30                            Desc
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                                                                                     FOR COURT USE ONLY




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                                     UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                  SANTA ANA DIVISION
 In re:                                                                              CASE NO. 8:18-bk-10590-CB

RANDY RAMIREZ                                                                        CHAPTER: 13



                                                                                         ORDER TO SHOW CAUSE


                                                                        Debtor(s).   DATE: March 20, 2018
                                                                                     TIME: 10:00 a.m.
                                                                                     COURTROOM: 5D
                                                                                     PLACE: 411 W Fourth St
                                                                                            Santa Ana CA 92701


In the above entitled bankruptcy case,

                              (“Attorney”) failed to file a status report.

                              (“Attorney”) failed to appear at                                   .

    Debtor has failed to file schedules or other petition-related documents.

   Debtor failed to disclose prior bankruptcies on page 3 of the petition

   Debtor is an entity that must be represented by an attorney. [LBR 9011-2(a)]

    Other: Debtor to appear and explain the purpose and feasibility of the current filing.
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It is ORDERED that DEBTOR RANDY RAMIREZ AND ATTORNEY RONALD NORMAN shall personally appear at the
DATE, TIME and PLACE referenced above.


   It is further ORDERED that on or before March 16, 2018, Debtor shall file a declaration under penalty of perjury
explaining the purpose and feasibility of the bankruptcy filing given the prior bankruptcy and the failure to file case
commencement documents.

   At the hearing, the Court will determine whether the above entitled bankruptcy case should be dismissed as filed
improperly.

   At the hearing, the Court will determine whether sanctions will be imposed.



                                                                          ###




                 Date: March 8, 2018




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